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                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Lynchburg Division


  LEAGUE OF WOMEN VOTERS OF
  VIRGINIA;      KATHERINE    D.
  CROWLEY;     SEIJRA   TOOGOOD;
  GAYLE     HARDY;    CAROL   D.
  PETERSEN; and TRACY SAFRAN,                         Case No. 6:20-cv-00024-NKM-RSB

                    Plaintiffs,

              v.

  VIRGINIA      STATE      BOARD        OF
  ELECTIONS; ROBERT H. BRINK,
  JOHN O’BANNON, and JAMILAH D.
  LECRUISE, in their official capacities as
  Chairman, Vice-Chair, and Secretary of
  the Virginia State Board of Elections,
  respectively; and CHRISTOPHER E.
  PIPER, in his official capacity as
  Commissioner of the Virginia Department
  of Elections,

                     Defendants,

  REPUBLICAN PARTY OF VIRGINIA,

                    Intervenor-Defendant.


  JOINT MOTION FOR ENTRY OF PARTIAL CONSENT JUDGMENT AND DECREE

         Plaintiffs and Defendants (collectively, the “Consent Parties”) seek approval of a partial

  consent judgment and decree that would vindicate the public interests of ensuring access to the

  ballot, protecting election integrity, and promoting public health during the COVID-19 pandemic.

  Specifically, the agreement would stop enforcement for the November 3, 2020 General Election

  of the requirement that Virginia absentee voters have another individual observe them removing

  their absentee ballot from the envelope and then have that individual sign as a witness (the “witness
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  requirement”) for voters who believe they may not safely have a witness present while completing

  their ballot. In support of their motion, the Consent Parties rely upon the attached proposed Partial

  Consent Judgment and Decree and accompanying Brief in Support of Joint Motion for Entry of a

  Partial Consent Judgment and Decree.

         This agreement represents a fair, adequate, and reasonable arrangement which will benefit

  all parties while serving the public interest. The Consent Parties therefore request that the Court

  enter this agreement, which will provide certainty well in advance of the November 3, 2020

  General Election while allowing all qualified Virginians to vote and protect their health.




  Dated: August 5, 2020                             Respectfully submitted,

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   Dale E. Ho*                                       By: /s/ Carol L. Lewis
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   Theresa J. Lee*                                   MICHELLE S. KALLEN (VSB # 93286)
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   Vishal Agraharkar (VSB #93265)                    Jamilah D. LeCruise and Christopher E. Piper in
   Eden Heilman (VSB #93554)                         their official capacities, and the Virginia State
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                                 CERTIFICATE OF SERVICE

         I certify that on August 5, 2020, I served a copy of the foregoing Joint Motion for Entry

  of Partial Consent Judgment and Decree via filing with the Court’s CMECF system, which sent

  copies of this document to Counsel of Record.



                                       /s/ Davin M. Rosborough_____________
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